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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

1St SECURITY BANK OF WASHINGTON, a
corporation, NO. CV06~1004 RSL `

Plaintiff, PLAINTIFF’S MOTION FOR
PROTECTIVE ORDER

v. [NOTE ON MOTION CALENDAR:
January 5, 2007]

THOMAS B. ERIKSEN and J()RDAN
SCHRADER, P.C., an Oregon corporation,

Defendants.

 

 

1. Relief Requested

A protective order prohibiting disclosure of attorney-client information and attorney
Worl< product pertaining to defense of plaintiff lst Security Bank in Blankenship v. 1“
Securiz§y Bank, Civil No. 05~1697.

2. Facts

ln this lawsuit plaintiff 1St Security Banl< contends that the lawyer Who drafted a
Supplernental Ernployee Retirernent Plan (SERP) for its former CEO, Ronald Blanl<enship,
Was professionally negligent in doing so. The lawyer, Thomas B. Eril<sen, is a partner in

defendant law firm Jordan Schrader. See first Amended Complaint at 1111 1.2;1.3,3.3,3.4 and

4.1.
Ronald Blankenship brought suit against 1St Security Bank in a case entitled
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. . SEATTLE, WASH\NGTON 98’101-1609
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NO. CV06-1004 RSL FAX: <206) 682-1415

 

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Blankenship v. lst Security Bank, Civil No. 05-1697. First Amended Complaint at il 3.8. ln
that suit, Mr. Blankenship claimed entitlement to the SERP benefit In order to defend itself,
lSt Security Banl< retained the law firm of Preston Gates & Ellis (PGE). PGE is in no way
associated or affiliated with the defendant in this action, Jordan Schrader, a Portland Law
Firm. The Blankenship v. lsi Security Bank case settled with payment to l\/lr. Blankenship
of $500,000. ln this case lSt Security Bank alleges that were it not for the professional
negligence of the Jordan Schrader firm, the Bank would not have been exposed to payment to
Mr. Blankenship.
Counsel for defendant law firm in this case served on plaintiffs counsel its “First
Request for Production.” See attachment A to this motion. That request stated:
Produce a complete copy of the file of the Preston Gates
& Ellis law firm relating in any way to the representation
by that law firm of plaintiff with respect to Ronald
Blankenship’s claim(s) against the plaintiff This request
includes, but is not limited to, the Preston Gates & Ellis
law firm’s file and its representation of the plaintiff in
the lawsuit filed by Ronald Blaiikenship in the Western
District of Washington.
To that request, plaintiff filed an objection based upon the attorney-client privilege
and work product
3. Issue
Whether plaintiff 1Sl Security Bank is entitled to a protective order under Fed. R. Civ.
P. 26(0) prohibiting disclosure of privileged and work product materials?
4. Authority
Fed. R. Civ. P. 26(0)(1)~ authorizes entry of protective orders so “ that the disclosure
or discovery not be had.”
The attorney-client privilege in the State of Washington is defined at RCW
5.60.060(2):

An attorney or counselor shall not, without the consent
of his or her client, be examined as to any

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communication made by the client to him or her, or
his or her advice given thereon in the course of
professional employment

The work product doctrine was announced in Hickman v. Taylor, 329 US 495(1947).
Fed. R. Civ. P. 26(b)(3) also limits disclosure of materials prepared in anticipation of, or for,
trial by an attorney. The limitation placed upon discovery by that rule requires the party
seeking disclosure to establish that it is “unable without due hardship to obtain the substantial
equivalent of the materials by other means . .[T]he court shall protect against disclosure of
the mental impressions, conclusions, opinions or legal theories of an attorney or other
representative of a party concerning the litigation.”

Here, defendant’s broad request for production seeks privileged as well as work
product materials The attorneys responsible for these materials are not the attorneys that are
being sued by plaintiff Plainly, if that occurred, there would a waiver of the attorney-client
privilege

The Washington Supreme Court in Pappas v. Holloway, 114 Wn.2d 198, 787 P.2d.
30 (1990) held that in a lawyer malpractice case, the attorney-client privilege is typically
waived with respect to the lawyer who allegedly committed the malpractice 114 Wn.2d at
204-205.

ln Pappas, supra, a lawyer sued a former client for fees. The clients counterclaimed
for professional negligence ln response to that counterclaim, the plaintiff lawyer named
other of the clients’ lawyers as third party defendants There, a enacted waiver was not
found Here, the Answer by Defendant does not indicate any negligence by the Preston
Gates & Ellis law firm.l

The unanimous decision of the Court distinguished cases where the plaintiffs allege

malpractice against defendant attorneys and were represented in the malpractice claim by

 

1 While the fees paid by 1St Security Bank to Preston Gates & Ellis are an element of
damages in this case, a very limited waiver may exist with respect to the necessity for and
reasonableness of those fees.

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other attorneys, the situation here. The Court observed:

ln [these] cases, the defendants sought disclosure of
communications between the plaintiffs and their current
attorneys, alleging that by filing malpractice action
against the defendants, plaintiffs in effect waived the
attorney-client privilege as to all attorneys involved
Both courts held that the communications sought were
protected by the attorney client privilege

114 Wn.2d at 204.

The cases referenced are Miller v. Superior Court, 111 Cal.App.3d 390, 168
Cal.Rptr. 589(1980) and Dyson v. Hempe, 140 Wis.2d 792, 413 n.w.2d 379(1987).

S. Compliance With LR 37(a)(2)(A)

Tlie parties discussed by telephone their respective positions on December H;, 2006.

No resolution was reached v
6. Proposed Order
A proposed form of order is being filed with this motion as required under Local

Rules CR7(a).

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DATED this l Z“/ day of December, 2006.

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Kéby D. Fieich@r, wsBA NO. 5623
' Attorneys for Plaintiff(s)

 

 

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CERTIFICATE OF SERVICE
1 hereby certify that on the date shown below 1 electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

Attorney for Patrick N. Rothwell

Defendant: Davis Rothwell Earle & Xochihua, PC
701 Fifth Avenue, Suite 4795
Seattle, WA 98104-7047
PRothwell@davisrothwell.com

Cindy Lin

Dated: December 12th, 2006.

 

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